                    Case 4:08-cr-00315-RSB-CLR Document 1518 Filed 03/16/15 Page 1 of 1
AD 247(10/11) Order Regarding Motion for sentence Reduction Pursuant to 18 USC. § 3582(c)(2)                                 Page 1 of (Page 2 Not for Public Disclosure)



                                                              UNITED STATES DISTRICT COURT
                                                                              for the
                                                                    Southern District of Georgia
                                                                        Savannah Division

                       United States of America                                       )
                                        V.                                            )
                                                                                      )
                                                                                          Case No: 4:08-CR-00315-7
                                Jernard Akins
                                                                                      )    USMNo: 07683-021
Date of Original Judgment:         June 17, 2009                                      ) John D. Harvey
Date of Previous Amended Judgment: N/A                                                ) Defendant's Attorney
(Use Dale of Last Amended Judgment, fany)


                                         Order Regarding Moliuui for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


        Upon motion of Fj the defendant R the Director of the Bureau of Prisons               the court under 18 U.S.C.
§ 3582(c)(2) for a reduction  in the term of imprisonment   imposed  based   on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I B 1. 10 and
the sentencing factors set forth in 18 U.S.C. § 3 553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED.  GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last Judgment
                                                     71 months (48 months as to Ct. 100 and 23 months as to Ct.
              issued) of 87     months is reduced to              127, to be served consecutively)


                                                   (Complete Parts I and 11 of Page 2 when motion is granted)




                                                                                                    U. S. DISTRICT COURT
                                                                                                   Southern District of Ga.
                                                                                                       Filed in Office

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                                                                                                           Deputy Clerk




Except as otherwise provided above, all provisions of the judgment dated June 17, 2009,                                shall remain in effect.
 IT IS SO ORDERED.

Order Date:
                                                                                                              Judge's signature


                                                                                           William T. Moore, Jr.
                                                                                           Judge, U.S. District Court
 Effective Date: November 1, 2015                                                          Southern District of Georgia
                  (if dtjJerern from order date)                                                            Printed name and title
